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AO 245D (Rev 02/18) Judgment in a Criminal Case for Revocations
                    Sheet 1

                                          UNITED STATES DISTRICT COURT
                                                            District of New Mexico

                  UNITED STATES OF AMERICA                                   Amended Judgment in a Criminal Case - Reason:
                                                                             (For Revocation of Probation or Supervised Release)
                                    V.                                       Clerical Error

                         Alonzo Williamson                                   Case Number: 1:07CR01333-001JAP
                                                                             USM Number: 40163-051
                                                                             Defendant’s Attorney: Martin Lopez III

THE DEFENDANT:

☐     admitted guilt to violations of condition(s) of the term of supervision.
☒     was found in violation of condition(s) Standard, Mandatory after denial of guilt.

The defendant is adjudicated guilty of these violations:

Violation Number                 Nature of Violation                                                     Violation Ended

Mandatory Condition              The defendant committed another federal, state, or local                10/09/2018
                                 crime.


The defendant is sentenced as provided in pages 2 through 3 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984. The Court has considered the United States Sentencing Guidelines and, in arriving at the sentence for this Defendant, has
taken account of the Guidelines and their sentencing goals. Specifically, the Court has considered the sentencing range determined by application of
the Guidelines and believes that the sentence imposed fully reflects both the Guidelines and each of the factors embodied in 18 U.S.C. Sec. 3553(a).
The Court also believes the sentence is reasonable and provides just punishment for the offense.

☐ The defendant has not violated condition(s) and is discharged as to such violation(s) condition.

It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay
restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

5519                                                                        January 22, 2019
Last Four Digits of Defendant’s Soc. Sec. No.                               Date of Imposition of Judgment


1968                                                                        /s/ James A. Parker
Defendant’s Year of Birth                                                   Signature of Judge




                                                                            Honorable James A. Parker
Albuquerque, NM                                                             Senior United States District Judge
City and State of Defendant’s Residence                                     Name and Title of Judge

                                                                            March 21, 2019
                                                                            Date
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                    Sheet 1A                                                                                     Judgment - Page 2 of 3



DEFENDANT: Alonzo Williamson
CASE NUMBER: 1:07CR01333-001JAP

                                                      ADDITIONAL VIOLATIONS
Violation Number                 Nature of Violation                                           Violation Ended

Standard Condition               The defendant failed to notify the probation officer within   10/09/2018
                                 72 hours of his arrest or having been questioned by a law
                                 enforcement officer.
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AO 245D (Rev 02/18) Judgment in a Criminal Case for Revocations                                                       Judgment - Page 3 of 3
                    Sheet 2 - Imprisonment



DEFENDANT: Alonzo Williamson
CASE NUMBER: 1:07CR01333-001JAP

                                                              IMPRISONMENT
The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of: 18 months.

A term of supervised release will not be reimposed.

☐ The court makes the following recommendations to the Bureau of Prisons:




☒     The defendant is remanded to the custody of the United States Marshal.
☐     The defendant shall surrender to the United States Marshal for this district:
      ☐ at on .
      ☐ as notified by the United States Marshal.
☐     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
      ☐ before 2 p.m. on .
      ☐ as notified by the United States Marshal.
      ☐ as notified by the Probation or Pretrial Services Office.

                                                                  RETURN

I have executed this judgment as follows:




Defendant delivered on                                                                                         to
                                                   at                                with a certified copy of this judgment.




                                                                                  UNITED STATES MARSHAL

                                                                                  By
                                                                                  DEPUTY UNITED STATES MARSHAL
